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UNITED STATES DlSTRICT COURT

FOR 'I`HE WES'I`ERN DIS'I`RICT OF MICHIGAN

GFR, IJI`D.,

Plaintit`f. Casc No. __
v.
MARK FAR`NER and JUST IIAVING FUN PRODUCTIONS, INC.

Dcfendant.

 

Douglas S. Bishop (P2?6I6)

David A. Cvengros (P485(]4)

Bishop &Heintz, P.C.

Attorncys for Plaintiiit`

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COMPLAIN'[` FOR TRADEMARK INFRINGEMEN'I`, UNFAIR COMPETITI()N.
and VI()LATION OF INJUNCTION
NOW COMES Plaintif"f, GFR, Ltd., by and through its attorneys, Bishop &Heintz, P.C.,
and for its Complaint against Defendant, Mark Farncr and Just I-Iaving Fun Productions, Inc,
states as follows:
Jurisdiction and Vcnue
l. 'I`his is an action brought pursuant to thc lanham Act, 15 U,S.C. §1051 er .s‘eq.,

for infringement of the trademark rights of Plaintiff in violation of 15 U,S.C. §1114 and

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15 U.S.C. §1]25(a). Jurisdiction is proper under 28 U.S.C. §1331 (fjederal question), combined
with substantial and related claims for trademark unfair competition under state law.

2. Venue is proper under 28 U.S.C. §1391 in that the infringement is occurring in
the district, and any impending infringement will have a substantial effect on the Plaintiff
residing in this district

Parties

3. Plainti'l"f, GFR, litd (hereinafter “GFR" or "Grand l"unk" or "Grand l"unl<
Railroad”), is a Michigan corporation with its principal place of business located at 653?

Skcgemog Point Road, Williamsburg, Michigan 49690.

4. Defendant Mark Farner (hereinafter “l~`arner”) is a citizen and resident of the State
of Michigan.
5. Defendant, Just liaving I~`un Productions, Inc., is a California Corporation. lI) #

C343902 with a registered address of 5328 Alhama Drive, Woodland, California, which
regularly does business in the State of Michigan and has performed services as agents for
Det`endant l\/lark Farncr at times relevant to this action in this jurisdiction
Naturc of the Action and Relevant Facts

6. Gl-"R is a famous rock band performing as GRAND l~`UNK R/\II,ROAD.
GRAND l"Ul\lK~ and THE AMERICAN BAND, and is referred to herein as the “"l%alid"`
“GRAND FUNK,"' and/ or “GFR.”

7. GFR owns of a number of famous marks, including, without limitation: GRAND
l"`UNK RAILROAD, GRAND FUNK, and THE AMERICAN BAND (hereinafter referred to as

the "‘Gl"`R Marks."`

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8. GI~`R owns a number of incontestable federal registrations for the GI~`R l\/larks,
including among them: United States Federal Trademark Registration Nos. 2,820,656 for THI`.~`,
AMERICAN BAND; 2,?91,528, for GRAND l"UNK RAILROAD 'I`HE AMF.RICAN BAND &
Design; and 1,936,824, for GRAND FUNK RAILROAD. "l`hese are referred to herein as the
GFR Registrations. All Gl~`R Registrations listed are valid and enforceable and are incontestable

9. GRAND FUNK RAILROAD is a musical phenomenon which has touer
throughout the world and sold millions of records, including twelve "`Gold" albums (_sales of at
least halfa inillion) and ten “Platinum” albums (sales of at least one million`), and two Billboard
number one million-selling singles (“We’re An Amcrican Band" and "I,ocomotion”). as well as
ten Billboard top forty singles including "l’m Your Captain {Closer 'l`o llome)"` “'Walk like a
l\/lan"`, “Shinin’ On", and "‘Some Kind of Wondert`ul".

l(). By virtue of its many decades of popularity and sales oi" concert tickets. records.
songs, and related goods/services, the GFR Marks THE AMERICAN BANI.), GRAND FUNK,
and GRAND FUNK RAILROAD, among others, have become famous, and arc strongly
associated with Plaintift`.

ll. GRAND FUNK continues to tour with two out of its original three founding
members, l')on Brewer and Mel Schacher.

12. Defendant Farner, one of the original members of Grand I~"unk Railroad, left the
Band in 1983 to pursue a solo career. Farner continues to tour as a solo artist. Although l*`arner
rejoined the Band in the mid-l@‘)(]’s. he permanently left the group in 1998.

l3. (`)n information and beliei" Just llaving Fun Productions. Inc. is l"arnei"s booking

agent and contracts with third parties for l~`arner"s concert dates as a solo artist.

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14. in 2003, GFR brought an action against Farner and his former agent Paradise
Artists, I.Jtd. for trademark infringement of the marks GRAND FUNK and GRAND FUNK
RAILROAD. (hereinafter referred to as the “Original Lawsuit.”)

lS. The Original Lawsuit resulted in a Permanent lnjunetion which is attached hereto
as iixhibit A (the “Permanent Injunction."’). 'l`he Permanent lnjunction bars Farlier and those
acting in ‘“active concert or partieipation” with I~`arner from using the words "Grand Funk" andi‘or
“Grand i*`unk Railroad” with any billing of Mark Farner or any musical or other performing act
in which he performs except in compliance with the express conditions of the Pcrmanent
lnjunction.

16. Pursuant to the Permanent Injunction_, Defendant Farner is permitted to utilize, as
part of the billing of his personal performances, any ofthe following:

(i) Mark Famer formerly of Grand l*`urik Railroad;

(ii) Mark Farner, former member oi`Grand Fund Raiiroad;

(iii) Mark Farner, former original member of (irand Funk Railroad;

(iv) Mark iiarner, former member of Grand Funk Railroad; or

(v) For the permitted uses delineated above._ in (i) through [iv}
"`GRAND I~`UNK may be used in place of GRAND FUNK
RAILROAD.”

Sce Exhibit A.

l'?. Additionally, the Permanent Injunction provides that the term “GRAND l"UNK
RAlLROAD" andfor “GRAND FUNK”, is subject to the further condition that the term "'MARK
FARNER"" shall appear in all capital letters; the words “Grand Funk"` andfor "‘Grand Funk
Railroad” shall appear in lower case letters with only the initial letter of each word permitted to
be capitalized; the words “former” "‘formerly” and “"member"` shall have at least the first letter
capitalized; and ail words, other than “MARK FARNER" shall be of the same size and type and

no larger than 50% of the type size of L"Mark Farner”. The Permanent lnjunction in no way

allows Defendants to utilize any other of Plaintiff’s marks.

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18. Currently, and in open defiance of this Honorable Court’s Permanerlt lnjunction,

Defendant Farner has undertaken a concert tour series promoting himself using the Plaintifl"s

Marks, namely, using, without Plaintiff”s permission, the Marks GRAND FUNK RAILROAD

and 'l`HE Al\/IERICAN BANI) in violation of the Permanent lnjunction. and in violation of

Plaintiff’s exclusive trademark rights in the Marks and the GFR Registrations.

19. As of March 5, 2013, Plaintiff has documented the following violations of the

Permanent lnjunction in the advertising of Defendant I~`arner’s musical efforts:

(i)

(ii)

(iii)

(iv)

(V)

(vi)

(vii)

03!02/'18 Milwaukee, Wisconsin, billed as “MARK liARNER`S
AMERICAN BANI ,” Unauthorized use of Registercd l\/iark
"AMHR[CAN BAND."

03»’03;“ 18 Medina, Minnesota, billed as “Mark Farner formerly from
Grand Funk Railroad.” lmproper use of capitalization

3!22/ 18 Ridgefield, Connecticut, billed as "Mark Farner l~`ormcrly of
Grand Funk Railroacl". lmproper use of capitalizationl

4/2?/18 Harbinger, North Carolina, billed as "Mark Farner - American
Band Founding member of Grand Funk Railroad". Unauthorized use of
Registered Mark “AMERICAN BAND.” lmproper description. use of
capitalization, and insufficient font reduction

5!12]8 and 5)‘13/“1 8 Guam, billed as "Mark Farner formerly of Grand
l"unk Railroad". lmproper use of capitalization and no font reduction

6f9fl 8 Everett, Washington. billed as "Mark Farner's American

Band" and "b`onner lead singer of Grand Funk Railroad". lmproper
description, use of eapitalization, and no font reduction. Billed as "l\/lark
Farner's American Band (Grand Funk Railroad) with Medicine llat".
Unauthorized use of Registered Mark “AMERICAN BAND.”

lmproper description, use of capitalization, and no font reduction.

llf2f 18 Natiek, Massachusetts, billed as "Mark liarner‘s Arnerican Band
Acoustic". Unauthorized use of Registcred Mark "AMERICAN BAND."
improper description

20. Additionally, Defendant liarner filed a trademark application with the USP'[`O.

Serial No. 87!204,086 for the confusineg similar mark to Plaintil`Fs mark 'l`l-ll€ AMERICAN

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BAND, namely, for the mark MARK FARNl`€R`s AMI_`:R[CAN BAND_. based on intent-to-use,
which application matured into Registration No. 5.4]3.322- on I~`cbruary 27. 2018 (rei`erred to
herein as the ‘“Conilicting Registration.”._) 'l`he Conflicting Registration purports to confer on
Farncr the exclusive rights to the MARK FARNER’s AMERICAN BAND, which are directly
inconsistent with Plaintiff`s right to THE AMERlCAN BAND.

21. Dcfendants’ use of the Mark AMERICAN BAND is unauthorized and likely to

cause confusion with Plaintiff, its Marks, and its Registrations, and is causing harm to Plaintiff,

22. l)efcndants’ actions in violation of the Permanent lnjunction arc causing harm to
Plaintiff.
23. Plaintif'i` is suffering, and will continue to suffer from the likelihood of confusion

caused by l.)efendant’s use of confusingly similar marks

24. Piaintiff is suffering and will continue to suffer, from Defendant`s erroneously
issued Conflicting Registration, which is a threat to Plaintifi"s exclusive rights1 and which casts a
cloud over Plaintilf’s ownership of its own extremely valuable Registration for The American
Band.

25. This Action is brought to protect Plaintiff from the irreparable harm resulting
from Defendant’s use of marks which are confusineg similar to Plaintiff’s Marks and
Registrations as well as Defendant"s violation of this Court’s l"ermanent lnjunction. l"urther.
l`)ei"cndant’s Conilicting Registration is itself a source of irreparable harm to Plaintifi`.
threatening to limit Plaintifi”s exclusive rights to use and register its Marks. Accordingly. the
Conilicting Registration should be cancelled

26. Plaintiff has notified Defendant of its violations as set forth herein, but Defendant

has refused to honor the Injunction andfor Plaintiff` s trademarks

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Count l - Trademark Infringement in Violation of The Lanham Act. 15 U.S.C. 8 1114

27. Plaintiff repeats and incorporates by references the allegations contained in
paragraphs 1- 26 of the Complaint as though fully set forth herein.

28. Defcndant’s conduct as described above constitutes infringement of l’laintiff`s
federally registered Marks in violation of the Lanham Actt 15 U.S.C. § l 1 14.

Count II - Trademark Infringement in Vio|ation of The Lanham Act. 15 U.S.C. 8 1125(a)

29. Plaintil`f repeats and incorporates by references the allegations contained in
paragraphs 1-28 of the Complaint as though fully set forth herein.

30. Defendants’ actions constitute a violation of the Lanham Act, 15 U.S,C. §1125(a)_.
and have caused substantial damage to Plaintiff, including, but not limited to_ lost revenue and
future sales.

Count III - Federal 'l`rademark Dilution - Lanham Act (15 U.S.C. SllZS(c))

31. Plainti'l`f` repeats and incorporates by references the allegations contained in
paragraphs 1-30 of the Cornplaint as though fully set forth herein.

32. Plaintiff owns the Marks and the Registrations.

33. The Marks and Registrations are famousl

34. The Marks and Registrations were famous before l)efendants adopted the name
for use, which is identified in the intent-to-use Contlicting Registration as October 14. 2016.

35. Defendants’ use of` the Registered l\/[arks include commercial use.

36. Defendants’ actions, including but not limited to its unauthorized use of Plaintiff’s
l\/larks. and its Conflicting Registrations._ have caused and are causing dilution of l’laintif`l`s
famous Marks and Registrations.

3'?. Del`endants’ activities are likely to cause. have caused and are continuing to

cause trademark dilution.

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38. Plaintiffis entitled to injunctive relief

39. l’laintiff is entitled to damages, including disgorgement of Dcfendants` prolits, an
award of Plainti'fi`s actual damages, and the costs of this action.

40. Defcndants’ dilution qualifies as an extraordinary case justifying an award of
attorney fees and costs to Plaintiffof Plaintil"l` s famous Marks and Registrations.

Count IV - Common Law Unfair Compctition

41. Plaintil`f` repeats and incorporates by references the allegations contained in
paragraphs 1-40 of the Complaint as though fully set forth herein.

42. Dcfendant’s actions outlined herein have causcd, and will continue to cause.
confusion and damage to the Plaintiff in violation of Michigan Common flaw of Unfair
Competition.

writ V - Cancellatiog of Reg. 54}3822

43. Plaintiff repeats and incorporates by references the allegations contained in
paragraphs 1-42 of the Complaint as though fully set forth hcrein.

44. lf" Dcfendant is permitted to retain the confusingly similar. and dilutive
chistration sought to be canceled which incorporates Petitioner’s Mark THE AMERICAN
BAND in its cntirety, Plaintiff will be damaged as by the loss of the exclusive rights and
presumptions to which it is entitled by virtue of its incontestable Registration over many years.

45. lf Dcfendant is permitted to retain the Registration sought to be canceled a cloud
will be placed on Plaintiff"s title in and to its Marks and on its right to enjoy the free and
exclusive use thereof as it relates to its services. Plaintiff may be limited its future attempts to
register its rightfully owned Marks. Such a Conflicting Registration is and will continue to be a

source ofdamage and injury to the Plaintiff`.

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Wl~ll~lRl`i/\S, Plaintiff requests the following relicf:

(1) A preliminary and permanent injunction enjoining Dcfendant, their employees,
agents, officers, directors, attomeys_, representatives, successors, affiliates, parents, subsidiaries1
licensees, and assigns, and all those in active concert or participation with any of them, from the
following acts:

(a) using or attempting to use on or in connection with any business or
service, or the sale, offering for sale, distribution, advertising, promotion, labeling or packaging
of any service or any goods. or for any purpose whatsoever: (_1) the any mark incorporating
“THE AMERICAN BAND,” "GRAND l~`UNK” andi“or “GRAND FUNK RAILROAD," or any
other name, mark or designation which colorably imitates or is confusingly similar to said names
or marks_, alone or in combination with any other mark(s), designation[s), word{`s}. term{s) and or
dcsign(s); and (2) any false description or representation or any other thing calculated or likely to
cause confusion or mistake in the public mind or to deceive the public into the belief that
I)efendants or their products or services are connected to Piaintiff or its Marks, or that
Dcfendant’s products and services come from or are approved or endorsed by Plaintiff_; and

(b) otherwise engaging in acts, either directly or through other entitics. of
infringement and unfair competition;

(2) An order requiring Dcfendant to make no use of the any of thc Marks, including
without limitation AMERICAN BAND andfor GRAND FUNK RAILROAD, and to expressly
surrender his 'l`radcmark Registration 5413822

(3) An Order requiring Dcfendant to file with the Court and serve upon Plaintiffs.
within thirty (30) days after the entry of such order or judgment1 a report in writing and under

oath setting forth in detail the manner and form in which they have complied with the injunction;

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(4) A declaration that Dcfendant’s impending acts of trademark infringement and
unfair competition are knowing, willful and “exceptional” within the meaning of 15 U.S.C.§
l 1 l ?_;

(5) An ()rder awarding to Plaintiff actual damages and an accounting of l)efendant`s
profits, including any statutory enhancements on account of the willful nature of l_)efendants`
acts;

(6) An Order awarding to Plaintiff prejudgment and post-judgment interest;

(?) An award of Plaintiff’s costs and expenses. including, without limitation_.
reasonable attorney fees;

(8) A finding of contempt against l)efendants" for violation of this llonorablc (`ourt`s
Pemianent Injunction and an award of all damages including costs and reasonable attorney fees
as allowed by law; and

(9) All other reliel`, in law or in equity. to which l’laintiff may be entitled or which
the Court deems just and proper.

Plaintiff respectfully requests ajury trial of all issues so triable

BISI lOl’ & l"lEINTZ, l),C,

fs/ David A. Cvengros
Dated: March ?, 2018 By:

 

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